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                EXHIBIT 1 TO
          MOTION TO EXCLUDE EXPERT
         TESTIMONY OF LARRY GOANOS
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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLORADO


    NBH CAPITAL FINANCE,

                 Plaintiff,
          v.
                                                     Civil Action No. 1:19-cv-02153
    SCOTTSDALE INDEMNITY
    COMPANY,

                 Defendant.




        EXPERT WITNESS REBUTTAL REPORT OF LARRY GOANOS

   I, Larry Goanos, report as follows:

   1.    I have been retained as an expert witness for the defendant in the lawsuit

         styled as NBH Capital Finance v. Scottsdale Indemnity Company, Civil

         Action No. 1:19-cv-02135, pending in the United States District Court for

         the District of Colorado (the “Captioned Lawsuit”). This report rebuts the

         expert witness report offered on behalf of the plaintiff by Jeffrey E. Thomas.


                                  QUALIFICATIONS

   2.    A summary of my educational background, qualifications, publications, and

         professional experience is contained in my curriculum vitae, which is
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         attached hereto as Exhibit 1 and incorporated herein by reference as though

         fully set forth at length.

   3.    I began in the insurance industry in 1989 as an attorney practicing insurance

         law. I worked at law firms in New York City (D’Amato & Lynch) and

         Boston (Parker, Coulter, Daley & White) for five years, handling various

         insurance matters, with an emphasis on coverage issues relating to

         professional lines insurance claims. I represented clients such as AIG,

         Chubb, CNA, Continental, Aetna/ERMA, Zurich, CIGNA, RLI, Western

         World and various Lloyd’s of London syndicates, among others.

   4.    In 1994, I became the Chief Underwriting Officer of the Financial

         Institutions Group of AIG subsidiary National Union Fire Insurance

         Company of Pittsburgh, Pa. (“National Union”). In that capacity, I was

         responsible for, among other things, drafting and editing primary and excess

         insurance policies, including Directors & Officers (“D&O”) Liability

         Insurance policies and Errors & Omissions (“E&O”) Insurance policies;

         drafting applications, endorsements, letters of intent and warranty letters;

         training underwriters on various aspects of insurance underwriting and

         claims; negotiating coverage and pricing with insurance brokers and




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         insureds; and working with National Union’s Claims Department to help

         resolve complex claim issues.

   5.    In 1996, I became an insurance broker with Marsh USA (as it was then

         called), one of the world’s largest insurance brokerages, in its San Francisco,

         California office. In that capacity, as a licensed California insurance broker,

         I handled a wide variety of insurance placements. My duties included

         assessing client needs, soliciting quotes, negotiating terms and pricing with

         carriers, and structuring complex insurance programs. I worked on some of

         the largest accounts in the San Francisco office, including Bank of America,

         Wells Fargo, E*Trade, AmeriTrade, Chevron, Union Bank of California,

         and Stanford University. I was also a Claims Advocate at Marsh, in which

         capacity I worked with Marsh clients throughout the Western United States.

         In that role I explained the claims process, analyzed the merits of individual

         claims, and assisting in negotiating coverage with insurers.

   6.    In 1998, I returned to AIG, where I became the Executive Vice President of

         National Union’s Financial Institutions Group, performing many of the

         duties that I previously had handled for AIG, including drafting policy

         wordings and working with its Claims Department to resolve difficult

         claims. I also assumed greater responsibility for strengthening client and


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         broker relations and ensuring that the group met its financial goals.

         Additionally, I represented National Union at speaking engagements on

         various insurance topics throughout the United States.

   7.    In 2002, I became a Senior Vice President of ACE USA’s Professional Risk

         Group. I supervised all management liability (D&O and related products)

         underwriting for ACE USA, as well as professional liability (E&O)

         underwriting for financial institutions. In this capacity, I was responsible for

         overseeing day-to-day operations, including negotiating policy wordings;

         drafting and editing primary and excess policies; drafting applications,

         endorsements, letters of intent and warranty letters; training employees on

         various aspects of insurance underwriting and claims; representing ACE

         USA at speaking engagements throughout the country; and working with

         ACE’s Claims Department to help resolve complex claims.

   8.    In 2005, I returned to Marsh at its New York City headquarters. I obtained

         my New York State Property and Casualty Insurance Broker’s License and

         became a Managing Director, working with large clients nationwide on a

         variety of insurance matters.

   9.    In 2007, I became the President of Professional Indemnity Agency, Inc.

         (“PIA”), a wholly owned underwriting subsidiary of HCC Insurance


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         Holdings, Inc. (now known as Tokio Marine HCC). In this role, I oversaw

         the day-to-day operations of the entire subsidiary, including the Claims and

         Underwriting units. PIA underwrote a wide variety of insurance products.

   10.   In 2008, I authored a book, “Claims Made and Reported: A Journey

         Through D&O, E&O and Other Professional Lines of Insurance,” [New

         York: Soho Publishing, 2008; 376 pages]. I interviewed over 400 individuals

         about various aspects of the insurance industry while performing research

         for the book. To date, approximately 3,000 copies have been sold and the

         book has been translated into Japanese and published in Japan. Claims Made

         and Reported has received praise from many insurance executives, including

         Warren Buffett.

   11.   In 2010, I founded Andros Risk Services, LLC, an independent insurance

         consulting firm. Among other services that I perform are: 1) Drafting

         policies for insurance carriers; 2) Providing training to insurance company

         Claims and Underwriting units, insurance brokerages, other insurance

         consultants, and law firms; 3) Acting as an outsourced insurance risk

         manager; 4) Conducting audits of insurance underwriting and claims

         operations; 5) Conducting benchmarking analyses to compare insurance

         programs for clients against their peers; 6) Critiquing and analyzing


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            insurance programs; 7) Acting as an insurance coverage arbitrator; and 7)

            Serving as a litigation consultant and expert witness in insurance disputes.

         12. In my capacity as an independent consultant, I have served as an expert

            witness in more than 200 cases in state and federal courts nationwide and

            internationally. I have never been disqualified as an expert nor has my

            testimony ever been disallowed. I have also served as an arbitrator in an

            insurance coverage dispute.

   13.      In 2014, I authored a book titled “D&O 101: Understanding Directors and

            Officers Liability Insurance – A Holistic Approach,” [San Diego: Wells

            Media, 2014, 214 pages]. This book discusses technical coverage aspects of

            Directors and Officers Liability Insurance and was praised by many

            insurance industry executives, including, as with my first book, Warren

            Buffett. It is the best-selling book in its publisher’s history.

   14.      I was the founding Dean of The School of Professional Lines Claims within

            the Claims College sponsored by The Claims and Litigation Management

            Alliance (“The CLM”) from July of 2012 until September of 2015. The

            Claims College offers courses on best practices in claims handling for

            insurance professionals and attorneys. I designed Claims courses with my

            executive committee which was comprised of senior claims executives from


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         major carriers. I also taught, and still teach, classes to a student body

         consisting of Claims professionals from a wide array of carriers, as well as

         in-house and outside counsel. The CLM, arguably the insurance industry’s

         leading claims-focused organization, has a membership of more than 40,000

         individuals, 2,000 law firms and 800 insurance companies.

   15.   I was the president and chief underwriting officer of APRI Group, Inc. from

         May 2015 until November 2016. APRI Group, Inc. was an independent

         managing general underwriter (MGU) that acted as an outsourced

         underwriting arm of insurance carriers.

   16.   In summary, I have over 30 years of insurance industry experience as: 1) An

         outside attorney representing a variety of carriers in claims matters; 2) An

         insurance company senior manager overseeing claims and underwriting

         units; 3) An insurance broker (formerly licensed in all 50 states) representing

         client companies of all sizes; 4) The president of two companies

         underwriting insurance on behalf of insurers; 5) Dean of a school dedicated

         to teaching best practices in claims handling; and 6) An independent

         insurance consultant providing services to insurance carriers, insurance

         brokerages and other clients.




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                        STATEMENT OF COMPENSATION

   17.   I am being compensated at a rate of $800 per hour and my compensation is

         not contingent in any way on the outcome of this matter.


                      PUBLICATIONS AND PRIOR TESTIMONY

   18.   A listing of insurance publications that I have authored during the previous

         10 years, as well as a listing of my testimony as an expert witness in the last

         4 years, is attached as Exhibit 2 of this report.


                              MATERIALS REVIEWED

   19.   I have reviewed the materials listed in the attached Exhibit 3 of this report.


                              FACTUAL BACKGROUND

   20.   VIA International, Inc. (“VIA”) was formed on August 27, 2013. The

         company was a roll-up of six home electronics contractors (the “Western

         Six”) in the western United States. A seventh company was later added to

         the group.

   21.   Timothy A. Lucas (“Lucas”) and J.T. Sussman (“Sussman”) were outside

         consultants to the Western Six prior to the creation of VIA. Subsequently, on

         the date of VIA’s inception, Lucas became the company’s Chief Financial




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        Officer. In October of 2013, Sussman became the company’s Chief

        Accounting Officer and Controller.

  22.   Lucas and Sussman were responsible for, among other things, VIA’s

        accounting functions and the preparation and maintenance of VIA’s

        financial statements and records.

  23.   On the date of VIA’s formation, August 27, 2013, NBH Capital Finance

        (“NBH”) created a credit facility for the benefit of VIA. Through this credit

        facility, governed by a loan and security agreement (the “Loan Agreement”),

        NBH loaned millions of dollars to VIA. The credit facility was comprised of

        three loans: 1.) a $5 million fixed term loan; 2.) a $4 million revolving line

        of credit; and 3.) a $600,000 fixed term loan.

  24.   The loans were secured by VIA’s assets, primarily inventory and accounts

        receivable.

  25.   VIA and a variety of related corporate entities were designated as

        “Borrowers” under the Loan Agreement and NBH was the designated as the

        “Lender.” Neither Lucas nor Sussman were individually designated as

        Borrowers by the Loan Agreement. After VIA’s accounting difficulties

        came to light, NBH obtained personal guarantees of the Loan Agreement




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         from individual founding members (“FMs”) of VIA. Neither Lucas nor

         Sussman were in this group of loan guarantors.

  26.    Scottsdale Indemnity Company (“Scottsdale”) issued its Business and

         Management Indemnity Policy No. EK113166204 to VIA for the policy

         period of August 27, 2015 to August 27, 2016 (the “Policy.”) The Policy

         carries a $3 million maximum aggregate limit of liability under its Directors

         and Officers and Company Coverage Section. The Continuity Date 1 is

         October 14, 2014, except as per the Policy’s endorsement no. 43, the

         Continuity Date with respect to coverage extended to Via International &

         Receivership by the endorsement is October 15, 2015.

  27.    The Policy was written on a “claims made and reported” basis, which, as it

         states in bold-faced capital letters in the Policy’s heading, applies to:

         “…ONLY CLAIMS FIRST MADE AGAINST THE INSURED

         DURING THE POLICY PERIOD OR, IF ELECTED, THE

         EXTENDED REPORTING PERIOD AND REPORTED TO THE

         INSURER PURSUTANT TO THE TERMS OF THE RELEVANT

         COVERAGE SECTION.”


  1
   All bold-faced words herein are used in accordance with the definition ascribed to them in the
  Policy.



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  28.   On April 23, 2014, NBH sent a letter to VIA informing VIA that it was in

        default of a provision of the Loan Agreement. NBH demanded a fully-

        earned, non-refundable payment of $2,500.00 in order for NBH to forgo

        exercising its rights in the event of a default as set forth in the Loan

        Agreement.

  29.   On August 14, 2014, NBH sent another letter to VIA, this time informing

        VIA that it had been in default of the Loan Agreement since “at least

        February 28, 2014.” This letter also stated that VIA was in default of three

        sections/covenants of the Loan Agreement. NBH demanded a fully-earned,

        non-refundable payment of $2,500.00 in exchange for NBH to forgo

        exercising its rights in the event of a default as set forth in the Loan

        Agreement.

  30.   VIA was subsequently declared to be in default of the Loan Agreement by

        NBH in October of 2015.

  31.   NBH filed a lawsuit against Lucas and Sussman on September 1, 2016 in

        Denver District Court alleging that Lucas and Sussman had provided false

        financial information to NBH in connection with the administration of the

        loans that NBH had extended to VIA. On October 25, 2016, Lucas and




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        Sussman had the case removed to the United States District Court for the

        District of Colorado (the “NBH Lawsuit.”)

  32.   Lucas and Sussman tendered the NBH Lawsuit to Scottsdale as a purported

        Claim, as defined in the Policy, by an email from VIA’s insurance broker,

        Alliant Americas, on October 10, 2016.

  33.   By letter dated November 15, 2016, Scottsdale agreed to fund a defense for

        Lucas and Sussman pursuant to a reservation of rights.

  34.   On May 2, 2017, after further review and analysis, Scottsdale denied

        coverage for the NBH Lawsuit and informed Lucas and Sussman that it

        would stop funding their defense costs.

  35.   In November 2017, Lucas and Sussman entered into a settlement agreement

        with NBH (the “Settlement Agreement”) which provided that the parties

        would arbitrate their dispute in Denver before the Judicial Arbiter Group

        (the “Arbitration.”)

  36.   Pursuant to the Settlement Agreement, Lucas and Sussman assigned to NBH

        any right, title and interest that they had against Scottsdale under the Policy

        for indemnification of any judgment and award that might be obtained by

        NBH should it prevail in the Arbitration. However, Lucas and Sussman




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          reserved any right they had against Scottsdale under the Policy for coverage

          of defense expenses.

  37.     On April 18, 2019, the Arbitration resulted in a $4,304,922.85 award in

          favor of NBH and against Lucas and Sussman, jointly and severally. The

          United States District Court for the District of Colorado confirmed the

          Arbitration Award on May 6, 2019.

  38.     NBH subsequently filed the Captioned Lawsuit against Scottsdale in its

          capacity as a judgment creditor and assignee of Lucas and Sussman seeking

          payment of the $4,304,922.85 Arbitration award from Scottsdale under the

          Policy. NBH also contends that it is an Insured under the Policy (as that term

          is defined therein) pursuant to an assignment of Policy benefits by Lucas and

          Sussman in favor of NBH.


                              OPINIONS AND ANALYSIS

        Opinion No. 1: Scottsdale’s Conclusion That The Claim Was Not
                      First Made And Reported During the Policy Period
                      Was Reasonable

  39.     Directors and Officers Liability Insurance (“D&O Insurance”), like most

          insurance products, operates under the premise of fortuity. It is intended to

          provide protection against perils which are fortuitous and random, i.e. not

          those that are certain to occur.


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  40.   Almost all D&O Insurance policies (including the Policy) are written on a

        claims made and reported basis. That is, a claim must be first made during

        the policy period and reported to the carrier within a prescribed time frame.

  41.   If a claim was originally been made prior to a policy’s inception and then is

        resurrected in some form after the policy becomes effective, it is insurance

        industry custom and practice to exclude such claim from coverage under the

        in-force policy because it is not a new claim and does not represent a

        fortuitous event. If carriers were to provide coverage for previously-existing

        claims under a D&O Insurance policy, loss ratios would skyrocket and most

        likely the product would become extinct.

  42.   In order to establish a boundary for potential coverage of claims arising from

        wrongful acts, most D&O Insurance policies contain what is called a

        “continuity date.” The continuity date is normally referenced as part of an

        exclusion in order to clarify what prior claims would be excluded.

  43.   According to the Policy’s DEFINITIONS Section, Claim is defined, in part,

        to mean “…a written demand against any Insured for monetary damages or

        non-monetary or injunctive relief.”




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  44.   Wrongful Act is defined in the Policy as “…any actual or alleged error,

        omission, misleading statement, misstatement, neglect, breach of duty or act

        allegedly committed or attempted by:

              a. any of the Directors and Officers, while acting in their capacity as
                 such, or any matter claimed against and Director and Officer
                 solely by reason of his or her serving in such capacity;

              b. any of the Directors and Officers, while acting in their capacity as
                 a director, officer, trustee, governor, executive director or similar
                 position of any Outside Entity where such service is with the
                 knowledge and consent of the Company; and

              c. the Company, but only with respect to Insuring Clause 3 of this
                 Coverage Section.

  45.   The Policy’s Exclusion 1.k. states that:

              Insurer shall not be liable for Loss under this Coverage
              Section on account of any Claim:

              k. alleging, based upon, arising out of, attributable to, directly or
              indirectly resulting from, in consequence of, or in any way involving:

                     i. any prior or pending litigation or administrative
                        or regulatory proceeding, demand letter or formal
                        or informal governmental investigation or inquiry
                        filed or pending on or before the Continuity Date; or

                    ii. any fact, circumstance, situation, transaction or event
                        underlying or alleged in such litigation, or administrative
                        or regulatory proceeding, demand letter or formal or
                        informal governmental investigation or inquiry;
                        (emphasis added)




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  46.   In this matter, VIA’s default on its obligations under the Loan Agreement

        began at least as early as April 23, 2014, well before the Policy’s October

        18, 2014 Continuity Date.

  47.   VIA, an Insured under the Policy, received a letter on April 23, 2014 from

        NBH’s executive vice president, Christopher S. Randall, stating that VIA

        and related entities (“Borrowers”) were in default of Section 6.11(c) of the

        Loan Agreement. The letter goes on to say that “The Existing Default

        constitutes an Event of Default under the Loan Agreement. Subject to

        receipt of a fully earned, non-refundable default fee equal to $2,500, Lender

        will not presently exercise its rights and remedies available upon an Event of

        Default, but Lender reserves its right to do so at any time in its sole

        discretion.”

  48.   This notice of default and demand of $2,500 clearly constitutes a “demand

        letter” against an Insured. Mr. Thomas’s report attempts to dismiss this

        notice (and additional default notices to VIA dated August 14, 2014 and

        April 23, 2015 – all prior to the Continuity Date) as simply constituting

        “…technical violations of the loan agreement, not for failure to make

        required payments.” (Thomas Report on page 20)




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  49.   Mr. Thomas’s distinction without a difference ignores the fact that for

        insurance coverage purposes – and as clearly set forth in the Policy – a

        breach of the Loan Agreement is the salient fact, the cause of the breach is

        not relevant. The plain fact is that NBH made a demand seeking

        compensation for an alleged Wrongful Act prior to the Continuity Date

        which is inextricably tied to the NBH Lawsuit that eventually ensued.

        Breaching the Loan Agreement is the Wrongful Act.

  50.   There is an old saying in the insurance world: “You can’t insure a burning

        building.” Also sometimes stated as, “You can’t buy fire insurance after you

        smell smoke.”

  51.   In this case, the building was already burning, VIA had breached covenants

        of the Loan Agreement based on financial ratios. Those financial shortfalls

        continued to mount until, ultimately, VIA could not make its required

        payments and defaulted on the Loan Agreement. These events are

        inextricably intertwined, and were rightly treated as such by Scottsdale in

        my opinion, especially in light of the broad language of the Policy’s

        exclusion 1.k.

  52.   As someone who has overseen the underwriting of D&O Insurance for

        thousands of companies, it is my opinion that the NBH Lawsuit did not


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          materialize out of thin air, but rather it was an organic outgrowth of VIA’s

          prior defaults which occurred before the Continuity Date. The NBH

          Lawsuit, in my opinion, falls well within the type of event which is meant to

          be excluded by the Policy as a Claims that was not first made during the

          policy period.


        Opinion No. 2: Scottsdale’s Conclusion That The Prior And
                      Interrelated Wrongful Acts Exclusion Squarely
                      Applies To The NBH Lawsuit Was Reasonable

  53.     D&O Insurance is underwritten and “rated up” (an industry term for

          calculating premium charges) according to a wide variety of factors.

  54.     One of the most significant underwriting factors is the time frame that

          determines how far back in time a carrier is willing to provide coverage for

          acts that may lead to future claims.

  55.     As a general rule of thumb, D&O Insurance carriers will only provide

          coverage for claims arising from the acts of a “de novo,” or start-up

          company, commencing with the date that the company first came into legal

          existence.

  56.     The logic behind this thinking is that most companies do not have all of their

          policies and procedures fully in place before they officially commence

          operations and the carrier does not want to assume the risk of claims which


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        may arise from acts, errors and omissions committed during these unsettled

        times.

  57.   In addition, since the new company was not paying a D&O Insurance

        premium during its pre-formation days, many carriers feel that it unwise and

        unfair to give a policyholder a “free ride” for acts committed during this

        time.

  58.   Thus, it is standard in the insurance industry to have a “prior acts” exclusion

        in a D&O Insurance policy that excludes coverage for claims arising from

        acts, errors and omissions occurring before the company’s official launch

        date.

  59.   The Policy, in keeping with insurance industry custom and practice, contains

        Endorsement No. 32, which adds language to Exclusion C.1. by stating:

                 Insurer shall not be liable for Loss under this Coverage
                 Section on account of any Claim:

                 alleging, based upon, arising out of, attributable to, directly
                 or indirectly resulting from, in consequence of, or in any way
                 involving:

                       1. any Wrongful Act actually or allegedly committed
                          prior to 8/27/2013; or

                       2. any Wrongful Act occurring on our subsequent to
                          8/27/2013 which, together with a Wrongful Act
                          occurring prior to such date, would constitute
                          Interrelated Wrongful Acts

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  60.   The term Interrelated Wrongful Acts is defined in Section B.6. of the

        Policy to mean: “…all Wrongful Acts that have as a common nexus any

        fact, circumstance, situation, event, transaction, cause or series of facts,

        circumstances, situations, events, transactions or causes.”

  61.   Claim is defined in the Policy’s Section B.1., in part, to mean “…a written

        demand against any Insured for monetary damages or non-monetary or

        injunctive relief.”

  62.   The NBH Lawsuit, in paragraph 48 of the Complaint, states that

        “Defendants Lucas and Sussman became aware during the period between

        June and November 2013 that VIA subsidiaries were not maintaining

        accurate periods of inventory and accounts receivables.”

  63.   Paragraph 49 the Complaint goes on to say that “Defendants Lucas and

        Sussman failed to implement proper procedures to report inventories and

        accounts receivables which resulted in a vast overstatement of collateral

        base upon which NBH based the VIA loans.”

  64.   June and July 2013 (and most of August) obviously pre-date the official

        formation of VIA and the inception of the Policy on August 27, 2013. Thus,

        any Claim, including the NBH Lawsuit, arising from acts prior to August


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          27, 2013 is excluded from coverage under the Policy. And any additional

          Wrongful Acts related to the alleged inadequate accounting procedures

          occurring after August 27, 2013 would constitute Interrelated Wrongful

          Acts and, thus, any Claim based on those allegations would similarly be

          excluded under the Policy.

  65.     In short, the NBH Lawsuit is based upon, arising out of, attributable to,

          directly or indirectly resulting from, in consequence of, or in any way

          involving alleged Wrongful Acts that began before VIA had purchased the

          Policy and before a time when Scottsdale had agreed to provide coverage for

          Claims arising from alleged Wrongful Acts. Thus, it is excluded from

          coverage under the Policy according to insurance industry custom and

          practice.


        Opinion No. 3: Scottsdale’s Conclusion That The Prior Knowledge
                      Exclusion Applies To The NBH Lawsuit Was
                      Reasonable

  66.     D&O Insurance is based on the precept of fortuity; it is meant to provide

          protection against perils which are unforeseen and not certain, or not even

          likely, to occur. If an Insured suspects that a Claim is reasonably likely to

          arise from a situation at any point before a policy’s Continuity Date, it is




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        fair and just, in my opinion and in accord with insurance industry custom

        and practice, for such Claim to be excluded from coverage.

  67.   The Continuity Date of the Policy is October 14, 2014, except as per the

        Policy’s endorsement no. 43, the Continuity Date with respect to coverage

        extended to Via International & Receivership by the endorsement is October

        15, 2015.

  68.   Exclusion 1.l. of the Policy addresses this issue. It withholds coverage for

        any Claim:

              alleging, based upon, arising out of, attributable to, directly or
              indirectly resulting from, in consequence of, or in any way involving,
              any Wrongful Act, fact, circumstance or situation which any of the
              Insureds had knowledge of prior to the Continuity Date where such
              Insureds had reason to believe at the time that such known Wrongful
              Act could reasonably be expected to give rise to such Claim;

  69.   This is a fairly standard exclusion present in the majority of D&O Insurance

        policies underwritten in the past 30 years or more, although exact wording

        may vary from carrier to carrier.

  70.   Mr. Thomas, in my opinion, significantly misstates the purpose of the prior

        knowledge exclusion in his report. On page 14 of his report, Mr. Thomas

        writes that “…the purpose of the Prior Knowledge Exclusion is to allocate

        claims to the proper policy year.”




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  71.   This is incorrect. The purpose of the Prior Knowledge Exclusion is to

        exclude Claims under the current policy for matters that the Insureds

        reasonably foresaw would lead to a Claim. The vast majority of such

        matters, in my experience, receive no coverage since it would be too late to

        report said knowledge under an expired policy. The Prior Knowledge

        Exclusion does not “allocate claims to the proper policy year” as Mr.

        Thomas contends.

  72.   In this matter, Messrs. Lucas and Sussman, presumably competent and

        experienced financial professionals, were both aware that VIA had been in

        default of the Loan Agreement repeatedly prior to the Continuity Date

        from, among other things, default notices sent to VIA on August 14, 2014

        and April 23, 2014.

  73.   When a company has difficulty adhering to financial ratio requirements

        imposed by a lender, it doesn’t take a savvy financial professional to

        understand that such defaults may reasonably be expected to give rise to a

        Claim, especially when the aggrieved lender explicitly states that it is

        foregoing a potentially draconian remedy.

  74.   In fact, Mr. Lucas, during his deposition in this matter was asked: “If you

        missed loan covenants did that raise a concern at the bank that a borrow in


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        this case, VIA might default on the loan?” His answer: “It’s certainly a red

        flag.” (Lucas deposition at page 118)

  75.   As Exclusion 1.l. of the Policy states, it applies to withhold coverage if

        “…any Insured had knowledge…” prior to the Continuity Date of any

        “…Wrongful Act, fact, circumstance or situation…” and that “…such

        known Wrongful Act could reasonably be expected to give rise to such

        Claim.”

  76.   In my opinion, and based upon my 30-plus years of experience in the

        insurance industry, an Insured admitting that something is a “red flag”

        indicates that he or she can reasonably foresee a Claim arising from that

        situation.

  77.   In addition, in an April 19, 2013 email to Sussman, Lucas wrote that they

        “need to pay attention to reported balances for inventory and AR [accounts

        receivable]. My gut is that they are all a little heavy.” While Mr. Thomas

        dismisses this statement cavalierly in his report, “a little heavy” is a

        euphemism for “inaccurate” or “misleading.” Mr. Lucas is admitting in

        writing to Mr. Sussman that he knows that the financials are erroneous. This,

        again, is knowledge of a situation that “could reasonably be expected to give

        rise to such Claim” as stated in Exclusion 1.l.


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  78.   Mr. Thomas, in his report, concedes that “…there is evidence from which

        one could argue that there was knowledge of purported wrongful acts prior

        to the continuity date,” (underlining added) but then he goes on to write,

        “Scottsdale did not identify or rely upon reasonable evidence to support its

        conclusion that the insureds had reason to believe that the wrongful acts

        could be expected to give rise to the claim.” I strongly disagree.

  79.   In the May 2, 2017 letter to Mr. Lucas and Mr. Sussman and a May 22, 2017

        letter from Scottsdale’s counsel to Gardere Wynne Sewell, LLP, Scottsdale’s

        counsel identified specific grounds for Scottsdale’s position on prior

        knowledge, including citing Mr. Lucas’s April 19, 2013 email to Mr.

        Sussman wherein Mr. Lucas noted that the reported balances to inventory

        and accounts receivable were “…all a little heavy.” Again, in this context

        the words “a little heavy” are a euphemism for “inaccurate” or “erroneous.”

  80.   Scottsdale’s counsel’s letter also cited an October 9, 2013 email written by

        Rick Montemayor, a founding member of VIA, to Mr. Lucas “…which

        expressed concerns regarding bank covenants, an upcoming audit, and the

        integrity of financial data (including financial statements & forecasts).”

        Scottdale’s counsel’s letter goes on to note that “Mr. Montemayor also

        discussed a ‘backlog report’ which apparently depicted an item (equating to


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          roughly 20% of the total backlog amount) that had not been viable for two

          months, but which the report’s drafter was told to leave on the report.”

  81.     For Mr. Thomas to assert that the above-cited grounds substantiating prior

          knowledge were insufficient, to me, flies in the face of credulity.




        Opinion No. 4: Scottsdale’s Conclusion That The Warranty
                      Exclusion Bars Coverage For The NBH Lawsuit Was
                      Reasonable

  82.     Endorsement No. 19 of the Policy, which amends the Policy’s Warranty

          Provision, states, in relevant part, that:

                    In the event the Application, including materials submitted
                    or required to be submitted therewith, contains any
                    misrepresentation or omission made with the intent to deceive, or
                    contains any misrepresentation or omission which materially
                    affects either the acceptance of the risk or the hazard assumed by
                    the Insurer under this Policy, this Policy, including each and all
                    Coverage Sections, shall not afford coverage to the following
                    Insureds for any Claim alleging, based upon, arising out of,
                    attributable to, directly or indirectly resulting from, in consequence
                    of, or in any way involving, any untruthful or inaccurate
                    statements, representations or information:

                 a. any Insured who is a natural person and who knew the facts
                    misrepresented or the omissions, whether or not such individual
                    knew of the Application, such materials or this Policy;




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  83.   Mr. Lucas, as previously noted, was clearly aware of the inaccurate

        financials which were “a little heavy” and were provided to Scottsdale as

        part of the Application in connection with the underwriting of the Policy.

  84.   Mr. Thomas attempts to summarily dismiss the applicability of this

        exclusionary language in his report. On page 21, he states that “This

        exclusion was not a reasonable basis for Scottsdale’s denial of coverage.”

  85.   The irony of Mr. Thomas’s dismissal of the Warranty Exclusion is that the

        inaccurate financials that were provided to Scottsdale as part of the

        underwriting process are the same inaccurate financials that NBH alleges

        caused it to make loans that VIA defaulted upon. In essence, Mr. Thomas is

        saying, “The inaccurate financials that NBH is complaining of, and which

        caused NBH harm, should be accepted by Scottsdale with no objection.”

  86.   Again, calling upon my experience as someone who has overseen the

        underwriting of thousands of D&O Insurance policies, I can unequivocally

        say that financial statements are material to the acceptance of a D&O

        Insurance risk – indeed, they are probably the primary concern of most

        carriers – and their falsity, if known, would unquestionably affect the

        underwriting process. In my opinion, if a carrier knowingly received false

        financials as part of the application process, it would result in the carrier


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          declining to quote the account. However, Scottsdale was deprived of that

          opportunity in this matter since, like NBH, it was unaware that the financials

          were inaccurate.


        Opinion No. 5: Scottsdale’s Position That The Policy Prohibits
                      Messrs. Lucas And Sussman’s Assignments To NBH
                      Is Reasonable

  87.     Virtually every D&O Insurance policy that I have encountered in my career

          is non-assignable without permission; that is, the Insureds are not permitted

          to assign their interests under the policy without the issuing carrier’s written

          permission. The Policy is no different.

  88.     Section M. of the Policy’s General Terms and Conditions, titled “ACTION

          AGAINST THE INSURER, ALTERATION AND ASSIGNMENT,”

          states in its last sentence: “No change in, modification of, or assignment of

          interest under this Policy shall be effective except when made by a written

          endorsement to this Policy which is signed by an authorized representative

          of the Insurer.”

  89.     Under the terms of the award resulting from the Arbitration, Lucas and

          Sussman purportedly assigned their rights under the Policy to NBH in order

          to allow NBH to pursue Scottsdale directly for insurance coverage.




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  90.     It is my understanding that Scottsdale never provided authorization, written

          or otherwise, for Lucas and Sussman to assign their rights under the Policy

          to NBH. Thus, it is my belief that the Captioned Lawsuit should be

          dismissed for this reason in addition to others set forth in this report.

  91.     I should point out that NBH seems to be familiar with the concept of

          providing authorization before contractual rights can be assigned since its

          default letters to VIA dated April 23, 2014 and August 14, 2014 reference

          VIA and its affiliated companies and, after grouping them together as

          “Borrowers,” goes on to say “…and each, together with its successors and

          permitted assigns…” (underlining added). To me, this is NBH

          acknowledging that an assignment is valid only when permitted by the

          relevant party.


        Opinion No. 6: The NBH Lawsuit Is Not The Type of Claim To
                      Which A D&O Insurance Policy Is Intended To
                      Respond

  92.     In my 30-plus years of involvement with D&O Insurance as coverage

          counsel working as an underwriting manager, insurance broker, president of

          two managing general agencies and an independent consultant, I don’t

          believe that I have ever seen a D&O policy provide an indemnity payment

          for a claim solely against individual directors and officers in a situation


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        involving a corporation’s default under a loan contract. It is simply not a

        peril against which D&O Insurance is intended to protect. Part of this is

        attributable, in my opinion, to the fact that individuals are normally not

        liable for the debts of the corporation.

  93.   Mr. Thomas, on page 6 of his report, attacks Scottsdale’s claims handler in

        this matter because he “…characterized NBH’s demand as a ‘ploy’ to see if

        they could get the claim to ‘register’ with the insurance carrier.”

  94.   As someone who has been involved with D&O claims for the entirety of my

        insurance career, and has been the dean of a claims college teaching best

        practices in professional lines insurance claims handling, I agree with the

        Scottsdale claims handler’s assessment of the NBH Lawsuit.

  95.   The process of properly underwriting loans before extending credit is a core

        competency of any lending institution. In the world of professional lines

        insurance, this is generally considered an uninsurable risk, or, as we often

        say in the insurance industry, it is “the cost of doing business.” In this

        matter, it seems to me that NBH, having failed in its underwriting of VIA’s

        loan by, among other things, not properly confirming inventory counts, is

        simply trying to improperly pass along its liability for its own errors to

        Scottsdale.


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  96.   NBH’s counsel, Markus Williams Young & Zimmermann LLC, admitted in

        an April 14, 2017 letter to Winget, Spadafora & Schwartzberg, LLC, on

        page 4, that: “Two potential lending sources (Bank of America and Republic

        Bank) noted on the reporting problems with receivables and inventory

        accounting during their negotiations for a loan to VIA…Neither Bank of

        America nor Republic was willing to provide financing at that level because

        of their concerns with the collateral base.” A more damning admission on

        behalf of NBH in this matter would be hard to imagine.

  97.   Essentially, NBH’s counsel is admitting that two other banks were able to

        discern problems with VIA’s financials that escaped NBH’s attention. NBH

        would now like Scottsdale to serve as a surety for the loans taken out by

        VIA by providing indemnification under a D&O Insurance policy for a

        matter that, in my opinion, is rightfully NBH’s burden to bear.

  98.   I have overseen the underwriting of D&O Insurance and other professional

        lines of insurance for financial institutions at insurance carriers

        AIG/National Union, ACE (now Chubb) and Houston Casualty (now Tokio

        Marine HCC).




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  99.   I can state with confidence that loss attributable to loan defaults is

        considered an uninsurable risk under traditional insurance products in the

        professional lines insurance world.

  100. An example of this can be seen, in among other places, in a Bankers

        Professional Liability Insurance Policy underwritten in Colorado by Great

        American Insurance Company through a program sponsored by The

        American Bankers Association.

  101. This policy, form no. PD 1130 (10 18), contains a standard exclusion in the
       “guts” of the policy which states:

              The Insurer shall not be liable to make any payment for Loss in
              connection with any Claim arising out of or in any way involving, or
              relating to an extension of credit, an agreement or refusal to extend
              credit, Loan Servicing, or the collection, restructuring, repossession
              or foreclosure of any extension of credit.

  102. Virtually every other standard Bankers Professional Liability policy in the

        insurance market contains a similar exclusion and has for many years.

  103. Making lenders whole for inadequate loan underwriting procedures and

        decisions in connection therewith is simply not within the contemplation of

        D&O Insurance policies or, for that matter, any other standard professional

        lines insurance policy. If the situation were otherwise, each D&O Policy

        would serve as a surety bond for every loan made to every corporate D&O




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        insured in America, something that would quickly result in the extinction of

        D&O Insurance.

  104. The Policy contains Exclusion C.2.a. which withholds coverage from any

        Claim “…alleging, based upon, arising out of, attributable to, directly or

        indirectly resulting from, in consequence of, or in any way involving the

        actual or alleged breach of any contract or agreement, except and to the

        extent the Company would have been liable in the absence of such contract

        or agreement…”

  105. This exclusion would ordinarily serve to preclude coverage from a matter

        such as the NBH Lawsuit however, in my opinion, NBH is attempting to

        circumvent the normal operation of D&O Insurance by not naming the entity

        as a defendant in a matter centering on defaulted loans and instead trying to

        foist off liability on individual officers who did not personally assume

        liability for said defaulted loans. This is the “ploy” to which Scottsdale’s

        claims professional, rightfully in my opinion, alluded as cited in Mr.

        Thomas’s report.


     Opinion No. 7: Scottsdale Acted Reasonably In Connection With The
                   Arbitration Decision and Judgment

  106. As a matter of insurance industry custom and practice, an insurer that has

        denied coverage will not reevaluate its decision absent a specific request
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        from its insured and the provision of additional information warranting such

        reconsideration. Accordingly, Mr. Thomas’ statement that Scottsdale was

        required to reevaluate coverage based upon the arbitration decision, without

        a submission of that decision, is erroneous.

  107. Mr. Lucas acknowledged in his deposition that after Scottsdale denied

        coverage to Messrs. Lucas and Sussman, they chose not to question or

        otherwise challenge the denial, thus accepting the result. The coverage

        correspondence available also indicates that Messrs. Lucas and Susman did

        not respond to Scottsdale after they received the denial of coverage. Even

        after the arbitration decision was entered, neither Mr. Lucas nor Mr.

        Sussman provided the decision to Scottsdale or asked Scottsdale to evaluate

        it for coverage. This is confirmed in Scottsdale’s coverage notes.

  108. Scottsdale acted consistently with insurance industry custom and practice,

        when it did not reevaluate coverage after May 2, 2017. There were no

        further requests for coverage or additional materials submitted for

        Scottsdale’s consideration after the May 2, 2017 denial. Mr. Thomas does

        not support his statement that Scottsdale should have reevaluated coverage

        with any citations to record facts or evidence.




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  109. In addition, the arbitration decision did not undermine Scottsdale’s key

        coverage determinations, with which I agree. The arbitration decision, which

        was largely written by NBH according to its own testimony, adjudicated the

        particular issues that were actually presented and contested in the arbitration.

        Notably, there is no evidence that the arbitrator was presented with any

        issues concerning the interpretation or the application of any of the

        provisions in the Policy. Accordingly, the arbitrator did not have any

        occasion to consider, and it was not presented with evidence about (i) the

        date when the Claim was first made, (ii) if there was a prior pending Claim

        before the Continuity Date, (iii) if there were any Interrelated Wrongful

        Acts that were in any way related to the Wrongful Act submitted to

        arbitration, (iv) whether Messrs. Lucas and Sussman had reason to believe a

        claim could be made concerning the NBH loans or VIA’s inaccurate

        accounting, before the Continuity Date, or (v) whether there were

        misrepresentations made in the Application.

  110. Indeed, none of the key exclusions depend on the final adjudication of the

        Claim. The wording of the Prior Pending Claim Exclusion (k), the Prior

        Knowledge Exclusion (l), and the Prior and Interrelated Wrongful Acts

        Exclusion (Endorsement No. 31) makes them applicable whenever there is a


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        Claim “alleging, based upon, arising out of, attributable to, directly or

        indirectly resulting from, in consequence of, or in any way involving” the

        circumstances of each exclusion. Thus, the allegations of a Claim or any

        extrinsic circumstances from which the Claim arises, or to which it is

        attributable, may trigger these exclusions. Moreover, the Warranty

        Exclusion (Endorsement 19) applies to misrepresentations made in the

        Application, and the Application is not at issue in the merits adjudication

        of a Claim.

  111. Mr. Thomas cites a statement from the arbitration decision that no claims

        were asserted against Mr. Lucas and Mr. Sussman for their work as

        independent contractors before the formation of VIA on August 27, 2013.

        Thomas also cites the decision’s statement that Mr. Lucas did not determine

        until November 2014 that NetSuite and the accounting methodology he

        adopted were not working appropriately. In my view, these statements are

        obviously self-serving, likely written by NBH, and do not appear to involve

        necessary determinations for the adjudication of NBH’s single count of

        negligent misrepresentation.

  112. Importantly, these statements are contradicted by the arbitrator’s key

        determination that VIA was deceived, and incurred damages, as a result of


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        misrepresentations made in connection with the Promissory Term Note for a

        fixed-term loan made as of August 27, 2013. The proceeds of that Term

        Note were immediately disbursed. Either NBH was damaged in the amount

        of the Term Note due to misrepresentations at the time it was extended, or

        NBH extended the loan without being damaged by misrepresentations and it

        could not recover. The arbitrator’s finding that NBH was damaged due to

        misrepresentations made in connection with the Term Note, as of August 27,

        2013, contradicts Mr. Thomas’ conclusions.

  113. Based on my years of experience in the insurance industry and knowledge of

        industry custom and practice, NBH’s recovery for misrepresentation

        damages incurred on August 27, 2013 supports application of the Prior and

        Interrelated Wrongful Acts Exclusion, the Prior Knowledge Exclusion, and

        the Warranty Exclusion.

  114. Mr. Thomas’s analysis is also incorrect because the Prior Knowledge

        Exclusion has an objective component. A prior knowledge exclusion is

        understood and intended to protect insurers from the risk than an insured,

        who has caused deception (intentional or negligent) to the insurer and third-

        parties, might be rewarded with coverage. Without such an exclusion, parties

        would be incentivized to deceive third parties, while benefitting from


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         coverage obtained through deceptions made to the insurer. Thus, an

         important question that Scottsdale could reasonably consider was when a

         reasonable officer, in the same circumstances as Messrs. Lucas and

         Sussman, could reasonably expect a claim.


     Opinion No. 8: Scottsdale Exceeded Insurance Industry Custom and
                   Practice For Good Faith Claims Handling Practices

  115.   Unlike Mr. Thomas, I will not profess to tell the Court what legal standards

         of bad faith claims handling would apply to Scottsdale’s handling of the

         NBH Lawsuit. Determining applicable law is not my role. Rather, I opine

         upon insurance industry custom and practice with respect to good faith

         claims handling as someone who has overseen a claims department and has

         worked for, and with, insurance carriers and brokers for over thirty years.

  116. In my opinion, Scottsdale adhered to and exceeded insurance industry

         custom, practice, and standards for good faith claims handling practices.

  117. First, As Mr. Thomas concedes in his report on page 4: “…Scottsdale acted

         reasonably and consistently with insurance industry custom and practice

         when it provided a defense to NBH’s claim under a reservation of rights…”

         I wholeheartedly agree with this conclusion.

  118. Second, Scottsdale, in my opinion, evaluated the coverage issues in a timely

         and reasonable manner that was fair to the Insureds and fully consistent
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        with, or even exceeded, insurance industry custom and practice. The

        company conducted a detailed analysis into the NBH Lawsuit with respect to

        coverage under the Policy, as information was presented to Scottsdale.

  119. Throughout Scottsdale’s handling of the claim, Scottsdale maintained up-to-

        date and informative notes of the claim review process and status. Upon

        initial receipt of NBH’s December 30, 2015 demand, Scottsdale’s claim

        notes and the deposition testimony reflect that Scottsdale reacted

        immediately by communicating with VIA and assigning defense counsel.

        Likewise, upon receipt of a copy of the complaint filed in the NBH Lawsuit,

        Scottsdale’s claim notes and the deposition testimony reflect that Scottsdale

        acted immediately to review the complaint, gather information, and assign

        defense counsel to the Insureds. Scottsdale also issued timely and

        informative coverage letters throughout the handling of the claim, including

        on February 26, 2016, June 17, 2016, September 8, 2016, November 15,

        2016, May 2, 2017 and May 22, 2017, in addition to various emails that

        were exchanged among representatives of Scottsdale and the Insureds.

  120. Third, the assignment of claim monitoring and coverage evaluation duties to

        one “point” person, Aaron Klass, at Scottsdale was appropriate and




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        consistent with industry custom and practices for the good faith handling of

        claim procedures.

  121. I disagree with Mr. Thomas that there is an industry custom and practice

        requiring all insurers who provide a defense under a reservation of rights to

        assign different personnel for monitoring of a claim and for evaluation of

        coverage issues. Appointed defense counsel owe their duty of loyalty to an

        insured, and such counsel are not required to follow the input or suggestions

        of claim professionals concerning the defense of a matter. However, a claim

        professional may provide such input, since even after an insurer’s

        reservation of rights to deny coverage, an insurer and the insureds share a

        common interest to avoid an adverse judgment on the claim.

  122. The testimony in this case is that Scottsdale appointed external, independent

        attorneys to defend the Insureds. Scottsdale’s own claims professionals did

        not undertake the defense of the claim. When external, independent defense

        counsel is appointed, the same claim professional is capable of monitoring a

        claim, providing input to minimize exposure of the Insureds and Scottsdale,

        subject to the judgment of independent defense counsel, and to apply the

        terms of the Policy in a reasonable manner.




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  123. Further, Mr. Klass had access to, and received guidance and

        recommendations from multiple other professionals within and outside

        Scottsdale. Within Scottsdale, Mr. Klass drew upon in-house expertise of a

        technical coverage group and his manager. At its own expense, Scottsdale

        also retained outside counsel to assist it in reviewing and analyzing the

        matter. Said counsel engaged in a detailed discourse with counsel for NBH,

        discussing various aspects of the NBH Lawsuit and how it related to specific

        provisions of the Policy. Therefore, the resources and personnel assigned by

        Scottsdale to monitor and evaluate coverage issues were more than adequate,

        and exceeded industry custom and practice for good faith claims handling.

  124. Fourth, I disagree with Mr. Thomas’s opinion that the timing of Scottsdale’s

        denial in May 2017 was inconsistent with industry custom and practice for

        good faith claims handling.

  125. It is noteworthy that in the Settlement Agreement Messrs. Lucas and

        Sussman retained all rights under the Policy with regard to any duty to

        defend. Thus, since NBH is not an insured, NBH does not have any basis to

        complain about the timing of Scottsdale’s denial in May 2017. NBH was not

        owed any duty of defense, and there is no insurance industry custom or




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        practice that would call for weighing the interests of a third-party claimant

        as to a defense.

  126. As discussed in my other opinions above, Scottsdale’s determinations of

        coverage were eminently reasonable. They were made appropriately, based

        on a fair, good faith, and customary reading of the Policy terms and the

        allegations in the NBH Lawsuit. The arbitration decision does not

        undermine the reasonableness of Scottsdale’s conclusions, and it was not

        submitted by Messrs. Lucas or Sussman for reevaluation of coverage.

  127. In my experience, the allegations in the NBH Lawsuit presented a pattern

        conduct, including Interrelated Wrongful Acts and prior knowledge, that

        was sufficient to apply the terms of the Policy to deny coverage, without the

        need for a final verdict or other adjudication. The exclusions at issue apply

        whenever any allegations in a Claim fall within the terms of each exclusion.

        Therefore, the allegations presented by NBH in the NBH Lawsuit, through

        its complaint and demand letters, were adequate and sufficient grounds to

        deny coverage.

  128. Further, it is reasonable and consistent with the insurance industry’s custom

        and practices for good faith and fair dealing to evaluate extrinsic facts that

        eliminate all possibilities of coverage. For example, extrinsic facts about the


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        time when a claim first arose in connection with a claims-reporting period,

        whether an insurer had prior knowledge that a claim was likely, and whether

        there were material misrepresentations in an application, may require

        consideration of extrinsic facts.

  129. Scottsdale acted reasonably by making a fair evaluation of the materials

        submitted by its Insureds, in light of all the information presented and

        available. It is again noteworthy that Messrs. Lucas and Sussman did not

        respond to or challenge in any way Scottsdale’s denial of coverage on May

        2, 2017. Thus, Messrs. Lucas and Sussman appeared to accept Scottsdale’s

        view of the objective circumstances supporting the denial. Given

        Scottsdale’s history of communications with the Insureds and their

        representatives, the Insureds understood that Scottsdale would consider and

        address any additional facts or materials they submitted.

  130. In my experience, carriers who engage in practices that fail to meet

        insurance industry custom and practice for good faith and fair dealing in

        claims handling do things like refuse to fund a defense while conducting a

        claims analysis without communicating with insureds or, in the alternative,

        take an inordinately long time to issue positions and respond to their

        insureds’ inquiries.


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  131. My review of this matter indicates that Scottsdale maintained open lines of

        communications with the Insureds and NBH, it explained its positions

        clearly and with sufficient factual support and it delayed withdrawing

        coverage – giving the Insureds the benefit of the doubt – for longer, in my

        opinion, than many insurance carriers would done in similar circumstances.

  132. As far as I can tell, the crux of Mr. Thomas’s conclusion that Scottsdale

        acted in bad faith is that ultimately the company determined that coverage

        was not available under the Policy for the NBH Lawsuit – a coverage

        determination with which I agree.

  133. Further, Mr. Thomas seems to ignore the fact that NBH is not an Insured

        under the Policy and has no rights to pursue Scottsdale given the Policy’s

        unequivocal prohibition against assignment of policy benefits without

        Scottsdale’s written approval. Scottsdale’s actual Insureds under the Policy

        are no longer actively involved in pursuing coverage for the NBH Lawsuit

        and I fail to see how anyone could draw a conclusion of a lack of good faith

        and fair dealing on Scottsdale’s part under the totality of the circumstances.

  134. If anything, in my view Scottsdale erred on the side of being conservative

        and Insured-friendly when it agreed to fund a defense of the NBH Lawsuit




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           from the outset and its withdrawal of such funding was clearly justified

           pursuant to the relevant coverage analysis.

  135. For all of the reasons stated above, and based upon my more than 30 years in

           the insurance industry, I believe that Scottsdale acted reasonably and

           justifiably in denying coverage for the NBH Lawsuit under the Policy and it

           met and exceeded insurance industry custom and practice for good faith and

           fair dealing in claims handling.


  The opinions above are my own, arrived at after a review of materials provided to

  me and with the benefit my more than 30 years of experience in the insurance

  industry. I reserve the right to modify this report, if warranted, by my receipt of

  additional facts and information.




  Highlands, New Jersey



  Date: September 29, 2020
  4811-1924-2445, v. 1



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                                   LARRY GOANOS
                                EXHIBIT 1: Curriculum Vitae

                                        50 Grand Tour
                                     Highlands, NJ 07732
                                    917.716.3964
                            lgoanos@androsriskservices.com
      _______________________________________________________________________

     Founder and CEO
     Andros Risk Services, LLC
     Highlands, NJ
     November 2010 to Present

           Founder of insurance consulting firm specializing in all aspects of professional
           lines insurance. Among services offered: review and analysis of insurance
           program coverage and structure; risk analysis; claims advocacy; claims and
           underwriting portfolio audits and analysis; training of underwriters, brokers and
           attorneys in various insurance products; drafting of policies and applications;
           assistance in conducting RFPs; performing reinsurance audits; conducting
           mediation and arbitration proceedings; and providing expert witness services.

     President and Chief Underwriting Officer
     APRI Group, Inc.
     Red Bank, NJ
     September 2015 to November 2016

           Managed day-to-day functions of an insurance managing general agency (MGA)
           specializing in professional lines insurance. Products underwritten included
           Lawyers Professional Liability (LPL), Fidelity Bonds and Cyber Insurance. Had
           responsibility for all aspects of the business, including negotiating underwriting
           guidelines and coverage terms with carriers, drafting insurance policy language
           and managing relationships with brokers and carriers. APRI Group was a licensed
           Lloyd’s coverholder and was authorized to do business in all 50 states.

     Dean
     The CLM Claims College – School of Professional Lines
     New York, NY
     July 2012 to September 2015

           Served as Dean of an educational organization dedicated to teaching insurance
           professionals best practices in every aspect of insurance claims handling. Played
           major role in creating and refining curriculum that focused on, among other
           things, drafting optimal coverage letters, mapping resolution strategies, avoiding
           allegations of bad faith claims handling and negotiating settlements. Worked with
           senior Claims managers from leading insurance carriers to create the foremost
           claims educational organization in the insurance industry.
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     President and Chief Marketing Officer
     Professional Indemnity Agency
     (An underwriting subsidiary of HCC Insurance Holdings/Houston Casualty)
     Mt. Kisco, NY
     March 2007 to June 2009

        Managed $350 million gross written premium (GWP) subsidiary of HCC
        Insurance Holdings, Inc. Primary lines of business included Directors & Officers
        Liability Insurance, Employment Practices Liability Insurance, Fidelity Bonds,
        Kidnap & Ransom coverage and over 200 classes of Miscellaneous Professional
        Liability (MPL/E&O) Insurance. Responsible for all aspects of subsidiary, including
        underwriting, claims, human resources and other administrative/operational functions.

     Managing Director
     Marsh USA
     New York, NY – June 2005 to March 2007
     San Francisco, CA – November 1996 to November 1998

        Financial Institutions National Practice Leader for Marsh's FINPRO (Financial
        and Professional) unit. Oversaw client relationships and coordinated new business
        initiatives with financial institution clients throughout the country. Served as a
        national resource on professional lines issues for all Marsh offices. Also worked with
        Marsh counterparts overseas on various international issues.

     Senior Vice President
     ACE USA
     New York, NY
     April 2002 to June 2005

        Managed ACE USA's Professional Risk's Management Liability and Financial
        Institutions Professional Liability unit on a day-to-day basis. Insureds ranged from
        the largest Fortune 500 companies to smaller, privately-held organizations. Grew the
        group over three years from seven underwriters and $14 million in GWP to
        approximately 35 underwriters and over $300 million in GWP. Was told at first
        annual review: "We gave you the keys to a jalopy, and you took it out on the highway
        and turned it into a sports car." Also responsible for a number of other duties,
        including drafting policy language, negotiating policy terms and conditions, training
        underwriters and working with the Claims Department to help resolve complex
        claims.




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     Executive Vice President
     Chief Underwriting Officer
     National Union Fire Insurance Company of Pittsburgh, Pa. (AIG)
     Financial Institutions Group
     New York, NY – January 1994 to November 1996; November 1998 to April 2002

        Number-two person in $350 million-plus GWP Financial Institutions Group at
        National Union. Duties performed included overseeing all underwriting activities,
        managing broker and insured relationships, reviewing, drafting and approving policy
        and endorsement language, developing new products, training and managing
        approximately 70 underwriters nationwide, working with the Claims Department to
        help resolve complex claims, and speaking at industry conferences throughout the
        country. Awarded SICO status at AIG, a prestigious designation reserved for
        approximately 400 of the company's 80,000 employees at the time.

     Practiced insurance law from 1989 to 1993 at law firms in New York (D’Amato &
     Lynch) and Boston (Parker, Coulter, Daley & White.) Coverage and litigation matters.


     Education

     Boston College Law School
     Newton Centre, MA
     Juris Doctor 1987, Cum Laude

     Villanova University
     Villanova, PA.
     BA, Political Science, 1984; Minor in English, Cum Laude

     Publications

     Books

     Author, D&O 101: Understanding Directors and Officers Liability Insurance – A
     Holistic Approach (Wells Media: San Diego 2014; 214 pages). The biggest-selling book
     in its publisher’s history, D&O 101 provides an in-depth view of Directors and Officers
     Liability Insurance in a textbook-like manner that is infused with real-world war stories
     from the author’s many years in the insurance industry.

     Warren Buffett said of D&O 101: "You write prose with great skill and I imagine you
     do the same when you write D&O policies…Congratulations on another terrific book."



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     Author, Claims Made & Reported: A Journey Through D&O, E&O and Other
     Professional Lines of Insurance (Soho Publishing: New York 2008; 376 pages).
     Translated into Japanese and released in Japan in hard-copy and e-book form in
     November 2011. Claims Made & Reported has sold over 3,000 copies and has
     generated more than $85,000 in donations to five charities.

     Warren Buffett said of Claims Made and Reported: "I enjoyed it thoroughly. The
     section about 9/11 was particularly moving...I hope our insurance managers got copies
     as I know they would enjoy it as I did. It deserves accolades."

     Risk & Insurance Magazine, in a June 2009 review, said of Claims Made & Reported:
     “In the final analysis, Goanos has written a book that will matter to the professional lines
     community. From the industry's struggle to survive in the early days, to the launch of new
     products to fill the needs of evolving industries, to the lives lost nearly a decade ago on
     that ghastly September morning, Goanos has done his part to shed more light on the
     hundreds of people involved with professional lines insurance, who they are and what
     they do."

     Other
     Author of numerous articles published in a variety of insurance industry periodicals.

     Speaker and moderator on various panels nationwide at events sponsored by groups
     such as the Risk and Insurance Management Society (RIMS), the Professional Liability
     Underwriting Society (PLUS), the American Bankers Association (ABA), the Defense
     Research Institute (DRI), the CPCU Society, The Claims and Litigation Management
     Alliance (CLM) and the California State Bar Association.

     Formerly a licensed insurance broker in New York and California. Was licensed to
     practice law in New York, New Jersey and Massachusetts before retiring from active
     practice to pursue insurance career.




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                                 LARRY GOANOS
                       EXHIBIT 2: Insurance Publications and
                      Prior Expert Testimony of Last Four Years

                            INSURANCE PUBLICATIONS

     Books

     D&O 101: Understanding Directors and Officers Liability Insurance – A Holistic
     Approach (Wells Media: San Diego 2014; 214 pages).

     Claims Made & Reported: A Journey Through D&O, E&O and Other Professional Lines
     of Insurance (Soho Publishing: New York 2008; 376 pages).

     Articles

        •    "AmWINS Insurance Q&A: Coverage Letters - What Are They and How Should
             They Be Handled?" AmWINS Client Advisory, May 2013; www.amwins.com
        •    "California Employers: Be Aware (and Beware!) of Employment Law Changes in
             2013," AmWINS Client Advisory, February 2013; www.amwins.com
        •    "Worth Investigating: D&O Insurance Coverage for Costs Arising from
             Investigations, Part 2," AmWINS Client Advisory, December 2012;
             www.amwins.com
        •    "Worth Investigating: D&O Insurance Coverage for Costs Arising from
             Investigations," AmWINS Client Advisory, November 2012; www.amwins.com
        •    "D&O Insurance for Healthcare Organizations: Our Prescription for Better
             Coverage, Part 2," AmWINS Client Advisory, October 2012; www.amwins.com
        •    "D&O Insurance for Healthcare Organizations: Our Prescription for Better
             Coverage," AmWINS Client Advisory, September 2012; www.amwins.com
        •    "D&O Policy Definitions: Don't Overlook These Critical Terms, Part 2"
             AmWINS Client Advisory, July 2012; www.amwins.com
        •    "D&O Policy Definitions: Don't Overlook These Critical Terms," AmWINS
             Client Advisory, June 2012; www.amwins.com
        •    "Tuning Up Your Client's D&O Policy, Part 2," AmWINS Client Advisory, May
             2012; www.amwins.com
        •    "Tuning Up Your Client's D&O Policy," AmWINS Client Advisory, April 2012;
             www.amwins.com
        •    "Unlocking Dodd-Frank's Insurance Opportunities," AmWINS Client Advisory,
             February 2012; www.amwins.com
        •    "Independent Directors' Liability Insurance: An Overview," AmWINS Client
             Advisory, January 2012; www.amwins.com
        •    "What is Severability and Why is it Important?" AmWINS Client Advisory,
             December 2011; www.amwins.com
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        •    "What is a Warranty Letter and Why is My Client Being Asked to Sign One?"
             AmWINS Client Advisory, November 2011; www.amwins.com
        •    "How to Soften the Insured vs. Insured Exclusion in Your Client's D&O Policy,"
             AmWINS Client Advisory, October 2011; www.amwins.com
        •    "Ten Years Later" [A September 11th Retrospective] Advisen
             (www.advisen.com), September 10, 2011
        •    "Key Considerations for Placing E&O Coverage," AmWINS Client Advisory,
             September 2011; www.amwins.com
        •    "Navigating the Tricky Waters of EPL Claims Reporting," AmWINS Client
             Advisory, August 2011; www.amwins.com
        •    "M&A Insurance: A Unique Solution for Helping a Client Through a Merger or
             Acquisition," AmWINS Client Advisory, July 2011; www.amwins.com
        •    "Important Insurance Considerations When Performing Due Diligence for
             Clients," AmWINS Client Advisory, June 2011; www.amwins.com
        •    "Essential Considerations When Buying D&O Run-Off Coverage," AmWINS
             Client Advisory, May 2011; www.amwins.com
        •    "Excess D&O Follow Form Coverage: Does It Really Follow Form?" AmWINS
             Client Advisory, April 2011; www.amwins.com
        •    "Dealing With Insurer Litigation Guidelines: Best Practices," AmWINS Client
             Advisory, April 2011; www.amwins.com




                                  PRIOR EXPERT TESTIMONY



        1.   I was deposed on April 25, 2016 as an expert for the plaintiffs in the lawsuit
             styled as Verizon Communications, Inc., Verizon Financial Services, LLC and
             GTE Corporation vs. Illinois National Insurance Company, et al. Case No. N14C-
             06-048-WCC (CCLD) pending in the Superior Court of Delaware in and for New
             Castle County.

        2.   I was deposed on January 24, 2017 as an expert for the plaintiffs in the lawsuit
             styled as First Horizon National Corporation and First Tennessee Bank National
             Association vs. Houston Casualty Company, Federal Insurance Company, XL
             Specialty Insurance Company, Alterrra America Insurance Company, Axis
             Insurance Company, National Union Fire Insurance Company of Pittsburgh, Pa.,
             RSUI Indemnity Company and Everest National Insurance Company, Civil


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             Action No. 2:15-cv-2235, pending in the United States District Court for the
             Western District of Tennessee.

        3.    I was deposed on September 13, 2017 as an expert for the plaintiff in the lawsuit
             styled as LifeLock, Inc. vs. ACE American Insurance Company, et al., Case No.:
             CV 2015-013959, pending in the Superior Court of Arizona, in and for the
             County of Maricopa.

        4.   I was deposed on November 13, 2017 as an expert for the defendant in Interstate
             Fire & Casualty Company, Personally and as Subrogee and/or Assignee of
             Kluger, Peretz, Kaplan & Berlin, P.L., vs. Axis Surplus Insurance Company, Case
             No. 2012-35828-CA-01 (31), in the Circuit Court of the 11th Judicial Circuit in
             and for Miami-Dade County, Florida.

        5.   I was deposed on January 16, 2018 as an expert for three defendant insurance
             companies (Old Republic Insurance Company, RLI Insurance Company and
             Allied World Assurance Company, Inc.) in Onyx Pharmaceuticals, Inc. v. Old
             Republic Insurance Co., RLI Insurance Company, Allied World Assurance
             Company (U.S.) Inc. and Berkeley Insurance Company, Case No. CIV 538248 in
             the Superior Court of the State of California, County of San Mateo.

        6.   I was deposed on June 28, 2018 as an expert for the plaintiffs in Michael I.
             Goldberg, not individually but as Liquidating Trustee of the Rothstein Rosenfeldt
             Adler, P.A. Liquidating Trust, Robert C. Furr, not individually but as Chapter 7
             Trustee of the estate of Banyon 1030-32, LLC and as the Chapter 7 Trustee of the
             Estate of Banyon Income Fund, LP v. Aon Risk Services Northeast, Inc., Case
             No.: 1:13-cv-21653-KMW in the United States District Court for the Southern
             District of Florida (Miami Division).

        7.   I testified at trial on August 30, 2018 as an expert for three defendant insurance
             companies (Old Republic Insurance Company, RLI Insurance Company and
             Allied World Assurance Company, Inc.) in Onyx Pharmaceuticals, Inc. v. Old
             Republic Insurance Co., RLI Insurance Company, Allied World Assurance


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             Company (U.S.) Inc. and Berkeley Insurance Company, Case No. CIV 538248 in
             the Superior Court of the State of California, County of San Mateo.

        8.   I was deposed on October 31, 2018 as an expert for the defendant/counterclaim
             plaintiff in Allied World Surplus Lines Insurance Company v. Richard J. Goettle,
             Inc., Civil Action No. 1:17-cv-00670S-JD in the United States District Court for
             the Southern District of Ohio, Western Division.

        9.   I was deposed on January 7, 2019 as an expert for the plaintiff/counterclaim
             defendant in Scottsdale Insurance Company v. CSC Agility Platform, Inc., fka
             ServiceMesh, Inc., Computer Sciences Corporation and Eric Pulier, Case No.:
             2:17-cv-07762-PSG (GJSx) in the United States District Court for the Central
             District of California, Western Division.

        10. I was deposed on January 18, 2019 as an expert for the claimant in the arbitration
             styled as Wind Point Partners VII-A, LP, as assignee of Performance Optics, LCC
             v. Lexington Insurance Company, AAA Case No. 01-17-0005-4347 (Hearing
             locale: New York, New York).

        11. I was deposed on February 1, 2019 as an expert for the plaintiff in Axis Surplus
             Insurance Company v. Aletheia Research and Management, Inc. and Does 1
             Through 10, Inclusive, Case No. BC485198 in the Superior Court of the State of
             California, County of Los Angeles.

        12. I testified at an arbitration on March 20, 2019 as an expert for the claimant in the
             arbitration styled as Wind Point Partners VII-A, LP, as assignee of Performance
             Optics, LCC v. Lexington Insurance Company, AAA Case No. 01-17-0005-4347
             (Hearing locale: New York, New York).

        13. I was deposed on April 25, 2019 as an expert for the defendant in Allied World
             Specialty Insurance Company F/K/A Darwin National Assurance Company v.
             Independence Blue Cross, LLC, Civil Action No. 2:17-cv-01463-JS in the United
             States District Court for the Eastern District of Pennsylvania.



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        14. I was deposed on May 3, 2019 as an expert for the plaintiff in Pharmacia
            Corporation N/K/A Pfizer Inc. v. Arch Specialty Insurance Company, Twin City
            Fire Insurance Company and Liberty Mutual Insurance Company, Civil Action
            No. 2:18-cv-00510-ES-MAH in the United States District Court for the District of
            New Jersey.

        15. I testified at trial on July 2, 2019 as an expert for the plaintiff in Galena
            Biopharma, Inc. v. Aon Risk Insurance Services West, Inc., Case No.
            16CV33844, in the Circuit Court for the State of Oregon for the County of
            Multnomah.

        16. I testified before the Irish Tax Appeals Commission in Dublin, Ireland on
            February 10, 2020 in a matter concerning Directors and Officers Liability
            Insurance, Employment Practices Liability Insurance and other lines of
            commercial insurance in the United States. I am subject to a confidentiality
            agreement and cannot reveal the client’s identity.

        17. I was deposed on April 6, 2020 as an expert witness for the plaintiff in Bedivere
            Insurance Company, F/K/A One Beacon Insurance Company v. Axis Insurance
            Company, Case No. 17-L-009747, in the Circuit Court of Cook County, Illinois
            County Department, Law Division.




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                             LARRY GOANOS
                         EXHIBIT 3 - Materials Reviewed

      1.    Expert Report of Jeffrey E. Thomas and Exhibits
      2.    Freedom Specialty Claims Handling Operating Standards
      3.    Scottsdale Claims Notes, Bates stamp starting with
            Scottsdale_0007354
      4.    Scottsdale Indemnity Company Business and Management Indemnity
            Policy No. EK13166204
      5.    Variable Quota Share Reinsurance Contract Effective June 1, 2015
      6.    American Bankers Association Insurance Services Bankers
            Professional Liability Policy Form No. PD 1130 (10 18)
      7.    Letter from Marcus Williams Young & Zimmerman LLC to VIA
            International, et al., dated December 30, 2015, with enclosures, Bates
            stamp starting with Scottsdale_ 0002064
      8.    Loan and Security Agreement Among VIA International, et al. and
            NBH Capital Finance, dated August 27, 2013, Bates stamp starting
            with Scottsdale_0003617
      9.    Revolving Promissory Note dated August 27, 2013, Bates stamp
            starting with Scottsdale_0004306
      10.   Term Promissory Note dated August 27, 2013, Bates stamp starting
            with Scottsdale_0004312
      11.   NBH Capital Borrowing Base Certificate, Bates Stamp starting with
            VIA000635
      12.   CRC Notice of Loss Letter dated December 30, 2015
      13.   Letter from Bailey Cavalieri to Louis E. Lupo dated February 26,
            2016, Bates stamp starting with Scottsdale_0004363
      14.   Letter from Bailey Cavalieri to Louis E. Lupo dated June 17, 2016,
            Bates stamp starting with Scottsdale_0003559
      15.   Letter from Gardere Wynne Sewell to Bailey Cavalieri dated July 28,
            2016, Bates stamp starting with Scottsdale_0003770
      16.   Letter from Bailey Cavalieri to Gardere Wynne Sewell dated
            September 8, 2016, Bates stamp starting with Scottsdale_0002941
      17.   Letter from Bailey Cavalieri to Tim A. Lucas and J.T. Sussman dated
            November 15, 2016, Bates stamp starting with Scottsdale_0002695
      18.   Letter from Bailey Cavalieri to Tim A. Lucas and J.T. Sussman dated
            November 15, 2016, Bates stamp starting with NBH_000108
      19.   Letter from Bailey Cavalieri to Tim A. Lucas and J.T. Sussman dated
            May 2, 2017, Bates stamp starting with Scottsdale_0002702

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      20. Letter from Bailey Cavalieri to Beverly B. Godbey, Esq. of Gardere
          Wynne Sewell LLP dated May 22, 2017, Bates stamp starting with
          Scottsdale_0002688
      21. Letter from NBH Capital Finance to VIA International, Inc. dated
          December 5, 2013, Bates stamp starting with Scottsdale_0004043
      22. Letter from NBH Capital Finance to VIA International, Inc. dated
          April 23, 2014, Bates stamp starting with Scottsdale_0004049
      23. Letter from NBH Capital Finance to VIA International, Inc. dated
          May 5, 2014, Bates stamp starting with Scottsdale_0004041
      24. Letter from NBH Capital Finance to VIA International, Inc. dated
          August 14, 2014, Bates stamp starting with Scottsdale_0003975
      25. Letter from NBH Capital Finance to VIA International, Inc. dated
          April 23, 2015, Scottsdale_0002516
      26. Letter from Markus Williams to Doug Klein, Louis Lupo and Bellann
          R. Raile dated December 30, 2015
      27. Letter from Markus Williams to Ashley Young, Esq. of Winget,
          Spadafora & Schwartzberg dated April 14, 2017, with attachments,
          Bates stamp starting with Scottsdale0122.
      28. Complaint in the matter of NBH Capital Finance v. Timothy A. Lucas
          and J.T. Sussman
      29. Complaint in NBH Capital v. Scottsdale Indemnity Company
      30. Scottsdale’s Amended Answer in NBH Capital v. Scottsdale
          Indemnity Company
      31. Arbitration Decision in NBH Capital v. Timothy A. Lucas and J.T.
          Sussman, Bates stamp starting with NBH_000535
      32. Final Judgment in NBH Capital v. Timothy A. Lucas and J.T.
          Sussman, Bates stamp starting with NBH_000557
      33. Scottsdale’s Objections and Responses to NBH’s Discovery Requests,
          Interrogatories and Requests to Admit
      34. Scottsdale’s Amended Objections and Responses to NBH’s Discovery
          Requests, Interrogatories and Requests to Admit
      35. Scottsdale’s Amended Response to Interrogatory No. 21
      36. Settlement Agreement among NBH Capital Finance, JT Sussman and
          Tim Lucas
      37. Arbitration Agreement among NBH Capital Finance, JT Sussman and
          Tim Lucas
      38. Assignment by JT Sussman, Bates stamp NBH006407
      39. Assignment by Tim Lucas, Bates stamp NBH006408
      40. Tolling Agreement and Amendment to the Tolling Agreement



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      41. Expert Report prepared for NBH Capital Finance by Gary Schwartz,
          dated November 15, 2017, Bates stamp starting with NBH_0001446
      42. Supplemental Expert Report prepared for NBH Capital Finance by
          Gary Schwartz, dated October 1, 2018, Bates stamp starting with
          NBH_001495
      43. Deposition transcript of J.T. Sussman and Exhibits
      44. Deposition transcript of Tim Lucas and Exhibits
      45. Deposition transcript of Angela Petrucci and Exhibits (Designed by
          NBH Capital Finance pursuant to Rule 30(b)(6))
      46. Deposition transcript of Chris Randall and Exhibits
      47. Deposition transcript of Veronica DeVoe and Exhibits
      48. Deposition transcript of Samantha J. Kulig and Exhibits
      49. Deposition transcript of Paul M. Tomasi and Exhibits (Designated by
          Scottsdale pursuant to Rule 30(b)(6))
      50. Deposition transcript of Michael Byron Zartman and Exhibits
          (Designated by Scottsdale pursuant to Rule 30(b)(6))
           4825-2118-8301, v. 2




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